Case 8:22-cr-00231-PJM Document1 Filed 06/29/22 Page 1 of

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GMM/BAM: USAO 2020R00548

IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF MARYLAND

UNITED STATES OF AMERICA *
v. * — CRIMINALNO.AQ -CIE COASI TRC
*
ARCHIE ARNOLD PAUL, * (Conspiracy to Commit Bank,

a/k/a “Carter Hill,” x 18 U.S.C. § 1349; Bank Fraud,

a/k/a “Zion Davis,” * 18 U.S.C. § 1344, Aggravated Identity
TIFFANY RAINEL WILLIAMS, = Theft, 18 U.S.C. § 1028A(a)(1); Felon
JALEN CRAIG MCMILLAN, and * in Possession of Firearm and
JOHN FITZGERALD WASHINGTON, * Ammunition, 18 U.S.C. § 922(g);

* Aiding and Abetting, 18 U.S.C. § 2;
Defendants * Forfeiture, 18 U.S.C. §§ 924(d),
* 982(a)(2)(A) and (b)(1), 21 U.S.C.
* § 853(p), 28 U.S.C. § 2461(c))
*
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INDICTMENT
COUNT ONE

(Conspiracy to Commit Bank Fraud)
The Grand Jury for the District of Maryland charges that:
At all times relevant to this Indictment:
Introduction

l. Defendant ARCHIE ARNOLD PAUL, a/k/a “Carter Hill,” a/k/a “Zion Davis,”
(“PAUL”) was a resident of Maryland.

2. Defendant TIFFANY RAINEL WILLIAMS (“WILLIAMS”) was a resident of
Maryland.

Bn Defendant JALEN CRAIG MCMILLAN (“MCMILLAN”) was a resident of
Maryland and was employed as a “Member Service Representative” (“MSR”) at Bank A, a federal

credit union.
Case 8:22-cr-00231-PJM Document1 Filed 06/29/22 Page 2 of 16

4. Defendant JOHN FITZGERALD WASHINGTON (“WASHINGTON”) was a
resident of Maryland.

5. Jovan Bell (“Bell”) was a resident of Maryland and was employed as a MSR at
Bank A.

6. As part of MCMILLAN’s and Bell’s duties at Bank A, MCMILLAN and Bell
were responsible for assisting Bank A members with submitting loan applications, ensuring that
cash and other negotiable instruments were handled properly, complying with federal and other
regulations relating to financial products and services, and opening bank accounts.

7. MCMILLAN and Bell primarily worked at Bank A’s branch in Laurel,
Maryland.

8. Bank A was a financial institution within the meaning of 18 U.S.C. § 20, in that its
deposits were insured by the National Credit Union Share Insurance Fund.

The Conspiracy and Scheme to Defraud

9. From a time unknown to the Grand Jury, but beginning at least in or about June
2018, and continuing through at least in or about March 2020, in the District of Maryland and
elsewhere, the defendants,
ARCHIE ARNOLD PAUL,
a/k/a “Carter Hill,”
a/k/a “Zion Davis,”
TIFFANY RAINEL WILLIAMS,
JALEN CRAIG MCMILLAN, and
JOHN FITZGERALD WASHINGTON,
did knowingly and willfully combine, conspire, confederate, and agree with Jovan Bell and others
known and unknown to the Grand Jury to execute and attempt to execute a scheme and artifice to

defraud Bank A, and to obtain and attempt to obtain money, funds, credits, assets, and securities

owned by, and under the custody and control of Bank A, by means of materially false and
Case 8:22-cr-00231-PJM Document1 Filed 06/29/22 Page 3 of 16

fraudulent pretenses, representations, and promises (“the scheme to defraud”), in violation of 18
U.S.C. § 1344.

Manner and Means of the Conspiracy and Scheme to Defraud

It was part of the conspiracy and scheme to defraud that:

10. PAUL and his co-conspirators obtained, possessed, and used fictitious identities or
the personal identifying information (“PII”) of real persons (the “victims”).

11. PAUL worked with WASHINGTON and others to manufacture and procure
fraudulent identification documents displaying the PII of the victims, but photographs of others.

12. PAUL and co-conspirators, such as WILLIAMS, used the false identification
documents to impersonate the victims, open accounts using fraudulent information, and make large
withdrawals from Bank A that belonged to the victims.

13. MCMILLAN and Bell used their positions of employment with Bank A to
facilitate both the speninz of bank accounts in the name of the victims using fraudulent information
and subsequent financial transactions.

Overt Acts

14. In furtherance of the conspiracy and to effect the objects, the defendants and their
co-conspirators committed and caused to be committed the following acts, among others, in the
District of Maryland and elsewhere:

a. On or about June 15, 2018, PAUL opened a fraudulent bank account with
Bank A in the name of “Zion Davis,” (“the Zion Davis bank account”) and MCMILLAN used his
position as an MSR to create the account.

b. On or about August 14, 2018, PAUL deposited a $22,324.56 check, made

out to “Zion Davis,” into the Zion Davis bank account.
Case 8:22-cr-00231-PJM Document1 Filed 06/29/22 Page 4 of 16

C. On or about October 9, 2019, PAUL messaged WASHINGTON the PII
belonging to Victim | with a photograph of WILLIAMS.

d. On or about October 17, 2019, PAUL messaged WASHINGTON a
photograph of Co-Conspirator 1.

€. On or about October 18, 2019, at the direction of PAUL, Co-Conspirator 1
opened a fraudulent bank account with Bank A in the name of Victim 1, and Bell used his position
as an MSR to create the account.

f. On or about October 25, 2019, PAUL messaged WASHINGTON the PII
belonging to Victim 2, along with a photograph of PAUL, and the PII of Victim 3, along with a
photograph of Co-Conspirator 2.

g. On or about October 26, 2019, PAUL and Co-Conspirator 2 opened
fraudulent bank accounts in the names of Victim 2 and Victim 3 at Bank A with the assistance of
Co-conspirator 3.

h. On or about October 25, 2019, PAUL messaged WASHINGTON the PII
belonging to Victim 4.

i. On or about November 2, 2019, MCMILLAN messaged PAUL stating,
“Her grandfather sponsoring her [Victim 5 and Victim 5’s Bank A’s Access Number].”

te On or about November 2, 2019, at the direction of PAUL, Co-
Conspirator 4 opened a fraudulent bank account with Bank A in the name of Victim 4 using
Victim 5’s Bank A’s Access Number. MCMILLAN used his position as an MSR to create the
account.

k. On or about March 22, 2020, Co-Conspirator 5 messaged WILLIAMS

the PII belonging to Victim 6.
Case 8:22-cr-00231-PJM Document1 Filed 06/29/22 Page 5 of 16

I. On or about March 24, 2020, WILLIAMS telephoned Bank A and opened
a fraudulent bank account in the name of Victim 6 and obtained a $65,000 auto loan.

m. On or about March 25, 2020, at the direction of PAUL, WILLIAMS used
the identity of Victim 6 and attempted to withdraw $65,000 from Victim 6’s fraudulently opened
bank account. Ahead of the transaction, PAUL contacted MCMILLIAN to let him know that

WILLIAMS would be attempting to withdraw the money.

18 U.S.C. § 1349
Case 8:22-cr-00231-PJM Document1 Filed 06/29/22 Page 6 of 16

COUNTS TWO THROUGH SIX
(Bank Fraud)

The Grand Jury for the District of Maryland further charges that:

1. Paragraphs 1 through 8 and 10 through 14 of Count One of this Indictment are
incorporated here and constituted a scheme and artifice to defraud Bank A, a financial institution,
and to obtain money and property from Bank A, by means of materially false and fraudulent
pretenses, representations, and promises and material omissions (the “scheme to defraud”).

2. On or about the dates set forth below, in the District of Maryland and elsewhere,
the defendants, knowingly executed, and attempted to execute, a scheme and artifice to defraud
Bank A and to obtain any of the monies, funds, credits, assets, and other property owned by and

under the custody and control of a financial institution, by means of false and fraudulent pretenses,

to wit:
Count Date Defendant(s) Description
ARCHIE ARNOLD PAUL, Opened, and caused to
a/k/a “Carter Hill,” be opened, a bank
: Hite 45, 2018 a/k/a “Zion Davis,” and account in the name of
JALEN CRAIG MCMILLAN “Zion Davis.”
ARCHIE ARNOLD PAUL, Obtained, and caused
a/k/a “Carter Hill,” to be obtained, a loan
3 October 18, 2019 a/k/a “Zion Davis,” and in the name of Victim 1
JOHN FITZGERALD for the amount of
WASHINGTON $25,000.
ARCHIE ARNOLD PAUL, Obtained, and caused
a/k/a “Carter Hill,” to be obtained, a loan
4 October 26, 2019 a/k/a “Zion Davis,” and in the names of Victim
JOHN FITZGERALD 2 and Victim 3 for the
WASHINGTON sum of $48,000.

Case 8:22-cr-00231-PJM Document1 Filed 06/29/22 Page 7 of 16

ARCHIE ARNOLD PAUL,
a/k/a “Carter Hill,”

Obtained, and caused
to be obtained, a loan

5 November 2, a/k/a “Zion Davis,” in the name of Victim 4
2019 JALEN CRAIG MCMILLAN, and for the amount of
JOHN FITZGERALD $10.000
WASHINGTON a
ARCHIE ARNOLD PAUL,

6 March 25, 2020

a/k/a “Carter Hill,”

a/k/a “Zion Davis,”
JALEN CRAIG MCMILLAN,
and
TIFFANY RAINEL WILLIAMS

Attempted to withdraw
$65,000 from
fraudulent loan
proceeds in the name
of Victim 6.

18 U.S.C. § 1344
18 U.S.C. §2

Case 8:22-cr-00231-PJM Document1 Filed 06/29/22 Page 8 of 16

COUNT SEVEN
(Aggravated Identity Theft)

The Grand Jury for the District of Maryland further charges that:
L. Paragraphs | through 8 and 10 through 14 of Count One of this Indictment are
incorporated here.
2. Between on or about October 9, 2019, and on or about October 18, 2019, in the
District of Maryland and elsewhere, the defendant,
ARCHIE ARNOLD PAUL,

a/k/a “Carter Hill,”
a/k/a “Zion Davis,”

during and in relation to a felony violation, that is, conspiracy to commit bank fraud, in violation
of 18 U.S.C. § 1349, as charged in Count One of this Indictment, and bank fraud, in violation of
18 U.S.C. § 1344, as charged in Count Three of this Indictment, knowingly transferred, possessed,
and used, without lawful authority, a means of identification of another person, that is, the name

of Victim |, knowing that the means of identification belonged to another person.

18 U.S.C. § 10284
IS U.S.C. §2
Case 8:22-cr-00231-PJM Document1 Filed 06/29/22 Page 9 of 16

COUNT EIGHT
(Aggravated Identity Theft)

The Grand Jury for the District of Maryland further charges that:
l. Paragraphs | through 8 and 10 through 14 of Count One of this Indictment are
incorporated here.
2. Between on or about October 25, 2019, and on or about October 26, 2019, in the
District of Maryland and elsewhere, the defendant,
ARCHIE ARNOLD PAUL,

a/k/a “Carter Hill,”
a/k/a “Zion Davis,”

during and in relation to a felony violation, that is, conspiracy to commit bank fraud, in violation
of 18 U.S.C. § 1349, as charged in Count One of this Indictment, and bank fraud, in violation of
18 U.S.C. § 1344, as charged in Count Four of this Indictment, knowingly transferred, possessed,
and used, without lawful authority, a means of identification of another person, that is, the name

of Victim 2, knowing that the means of identification belonged to another person.

18 U.S.C. § 1028A
18 U.S.C. §2
Case 8:22-cr-00231-PJM Document1 Filed 06/29/22 Page 10 of 16

COUNT NINE
(Aggravated Identity Theft)

The Grand Jury for the District of Maryland further charges that:
1. Paragraphs | through 8 and 10 through 14 of Count One of this Indictment are
incorporated here.
2. Between on or about October 25, 2019, and on or about October 26, 2019, in the
District of Maryland and elsewhere, the defendant,
ARCHIE ARNOLD PAUL,

a/k/a “Carter Hill,”
a/k/a “Zion Davis,”

during and in relation to a felony violation, that is, conspiracy to commit bank fraud, in violation
of 18 U.S.C. §1349, as charged in Count One of this Indictment, and bank fraud, in violation of
18 U.S.C. § 1344, as charged in Count Four of this Indictment, knowingly transferred, possessed,
and used, without lawful authority, a means of identification of another person, that is, the name

of Victim 3, knowing that the means of identification belonged to another person.

18 U.S.C. § 1028A
18 U.S.C. §2

10
Case 8:22-cr-00231-PJM Document1 Filed 06/29/22 Page 11 of 16

COUNT TEN
(Aggravated Identity Theft)

The Grand Jury for the District of Maryland further charges that:
1. Paragraphs | through 8 and 10 through 14 of Count One of this Indictment are
incorporated here.
2. Between on or about October 25, 2019, and on or about November 2, 2019, in the
District of Maryland and elsewhere, the defendant,
ARCHIE ARNOLD PAUL,

a/k/a “Carter Hill,”
a/k/a “Zion Davis,”

during and in relation to a felony violation, that is, conspiracy to commit bank fraud, in violation
of 18 U.S.C. § 1349, as charged in Count One of this Indictment, and bank fraud, in violation of
18 U.S.C. § 1344, as charged in Count Five of this Indictment, knowingly transferred, possessed,
and used, without lawful authority, a means of identification of another person, that is, the name

of Victim 4, knowing that the means of identification belonged to another person.

18 U.S.C. § 1028A
18 U.S.C. §2

11
Case 8:22-cr-00231-PJM Document1 Filed 06/29/22 Page 12 of 16

COUNT ELEVEN
(Aggravated Identity Theft)

The Grand Jury for the District of Maryland further charges that:

1. Paragraphs | through 8 and 10 through 14 of Count One of this Indictment are
incorporated here.

2 On or about November 2, 2019, in the District of Maryland and elsewhere, the

defendants,

ARCHIE ARNOLD PAUL,
a/k/a “Carter Hill,”
a/k/a “Zion Davis,” and

JALEN CRAIG MCMILLAN,
during and in relation to a felony violation, that is, conspiracy to commit bank fraud, in violation
of 18 U.S.C. § 1349, as charged in Count One of this Indictment, knowingly transferred, possessed,
and used, without lawful authority, a means of identification of another person, that is, the name

of Victim 5, knowing that the means of identification belonged to another person.

18 U.S.C. § 1028A
18 U.S.C. §2

12
Case 8:22-cr-00231-PJM Document1 Filed 06/29/22 Page 13 of 16

COUNT TWELVE
(Aggravated Identity Theft)

The Grand Jury for the District of Maryland further charges that:

l. Paragraphs | through 8 and 10 through 14 of Count One of this Indictment are
incorporated here.

2. Between on or about March 22, 2020, and on or about March 25, 2020, in the
District of Maryland and elsewhere, the defendant,

TIFFANY RAINEL WILLIAMS,

during and in relation to a felony violation, that is, conspiracy to commit bank fraud, in violation
of 18 U.S.C. § 1349, as charged in Count One of this Indictment, and bank fraud, in violation of
18 U.S.C. § 1344, as charged in Count Six of this Indictment, knowingly transferred, possessed,
and used, without lawful authority, a means of identification of another person, that is, the name

of Victim 6, knowing that the means of identification belonged to another person.

18 U.S.C. § 10284
18 U.S.C. §2

13
Case 8:22-cr-00231-PJM Document1 Filed 06/29/22 Page 14 of 16

COUNT THIRTEEN
(Felon in Possession of Firearm and Ammunition)

The Grand Jury for the District of Maryland further charges that:
On or about May 12, 2020, in the District of Maryland, the defendant,
ARCHIE ARNOLD PAUL,

a/k/a “Carter Hill,”
a/k/a “Zion Davis,”

knowing he had previously been convicted of a crime punishable by imprisonment for a term
exceeding one year, knowingly possessed firearms ammunition—that is, (1) a Privately Made
Firearm, Model SS80, 9mm caliber, semi-automatic pistol, bearing no apparent serial number, (2)
four 9mm caliber CBC rounds of ammunition, (3) one hundred 9mm caliber GECO rounds of
ammunition, and (4) one hundred forty-eight 9mm caliber Winchester Jacketed Hallow-points of

ammunition—and the firearm and ammunition were in and affecting commerce.

18 U.S.C. § 922(g)(1)

14
Case 8:22-cr-00231-PJM Document1 Filed 06/29/22 Page 15 of 16

FORFEITURE ALLEGATION

The Grand Jury for the District of Maryland further finds that:

I. Pursuant to Fed. R. Crim. P. 32.2, notice is hereby given to the defendants that the
United States will seek forfeiture as part of any sentence in accordance with 18 U.S.C. §§ 924(d),
982(a)(2) and (b)(1), 21 U.S.C. § 853(p), and 28 U.S.C. § 2461(c), in the event of the defendants’

conviction of any of the offenses alleged in Counts One through Six and Count Thirteen of this

Indictment.
Bank Fraud Conspiracy Forfeiture
2. Upon conviction of any of the offenses set forth in Counts One through Six, the
defendants,

ARCHIE ARNOLD PAUL,

a/k/a “Carter Hill,”

a/k/a “Zion Davis,”
‘TIFFANY RAINEL WILLIAMS,
JALEN CRAIG MCMILLAN, and

JOHN FITZGERALD WASHINGTON,

shall forfeit to the United States, pursuant to 18 U.S.C. § 982(a)(2)(A), any property which
constitutes, or is derived from, proceeds obtained directly or indirectly, as a result of such offenses.

Firearms and Ammunition Forfeiture

3. Upon conviction of the offense set forth in Count Thirteen of this Indictment, the
defendant,
ARCHIE ARNOLD PAUL,
a/k/a “Carter Hill,”
a/k/a “Zion Davis,”

shall forfeit to the United States, pursuant to 18 U.S.C. § 924(d) and 28 U.S.C. § 2461(c), any

firearms and ammunition involved in the offense, including but not limited to:
Case 8:22-cr-00231-PJM Document1 Filed 06/29/22 Page 16 of 16

(1) a Privately Made Firearm, Model SS80, 9mm caliber, semi-automatic
pistol, bearing no apparent serial number;

(2) approximately four (4) 9mm caliber CBC rounds of ammunition;

(3) approximately one hundred (100) 9mm _ caliber GECO rounds of
ammunition; and

(4) approximately one hundred forty-eight (148) 9mm caliber Winchester
Jacketed Hallow-points of ammunition.

Substitute Assets
4, If any of the property described above as being subject to forfeiture, as a result of
any act or omission of the defendants:
a. cannot be located upon the exercise of due diligence;
b. has been transferred or sold to, or deposited with, a third party;
ey has been placed beyond the jurisdiction of the court;
d. has been substantially diminished in value; or
€. has been commingled with other property which cannot be divided without

difficulty;
it is the intent of the United States, pursuant to 21 U.S.C. § 853(p), as incorporated by 18 U.S.C.
§ 982(b)(1) and 28 U.S.C. § 2461(c), to seek forfeiture of any other property of said defendants up

to the value of the forfeitable property described above.

18 U.S.C. § 924(d)
18 U.S.C. § 982(a)(2)(A) and (b)(1)
21 U.S.C. § 853(p)

28 U.S.C. § 2461(c) Cp Q ® satu J Gait
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SIGNATURE REDACTED United States Attorney
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Forepérson Date / /

